Case: 1:14-cr-00438-BYP Doc #: 155 Filed: 10/31/18 1 of 1. PageID #: 1106




  PEARSON, J.

                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION


  RYAN D. MALONE,                                   )
                                                    )     CASE NO. 1:17CV2290
                 Petitioner,                        )              [1:14CR438]
                                                    )
                 v.                                 )
                                                    )     JUDGE BENITA Y. PEARSON
  UNITED STATES OF AMERICA,                         )
                                                    )
                 Respondent.                        )     ORDER OF DISMISSAL



         The Court, having filed its Memorandum of Opinion and Order, hereby dismisses

  Petitioner’s Section 2255 Motion to Vacate with prejudice.

         The Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that an appeal from this decision

  could not be taken in good faith, and that there is no basis upon which to issue a certificate of

  appealability. 28 U.S.C. § 2253(c); Fed. R. App. P. 22(b).




         IT IS SO ORDERED.


    October 31, 2018                              /s/ Benita Y. Pearson
  Date                                          Benita Y. Pearson
                                                United States District Judge
